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                         Consol. Nos. 22-1421, 22-1573

UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

                                SONOS, INC.,
                                  Appellant,
                                      v.
               INTERNATIONAL TRADE COMMISSION,
                           Appellee,
                               GOOGLE LLC,
                                 Intervenor.

                               GOOGLE LLC,
                                 Appellant,
                                      v.
               INTERNATIONAL TRADE COMMISSION,
                           Appellee,
                                SONOS, INC.,
                                 Intervenor.

       Appeals from the United States International Trade Commission
                     in Investigation No. 337-TA-1191

RESPONSE OF APPELLEE INTERNATIONAL TRADE COMMISSION
          TO PETITION FOR REHEARING EN BANC
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                           ARGUMENT IN RESPONSE

I.    INTRODUCTION

      The Court should deny Google’s petition for rehearing en banc for two

reasons. First, Google, facing statutory stare decisis, fails to identify the requisite

“special justification” to overrule Suprema, Inc. v. International Trade

Commission, 796 F.3d 1338 (Fed. Cir. 2015) (en banc). Second, this appeal is a

poor vehicle to revisit Suprema because the only remaining patent subject to an

infringement finding implicating Suprema will expire in less than ten months and

because Google’s alternate interpretation of section 337 eschews the traditional

tools of statutory construction in favor of an atextual—and self-serving—gloss.

      When Google filed its petition, it made two predictions: First, it predicted

that the Supreme Court would overrule Chevron, U.S.A., Inc. v. Natural Resources

Defense Council, Inc., 467 U.S. 837 (1984). Second, it predicted that the

retirement of Chevron deference would call into question the holdings of prior

cases interpreting statutory provisions according to Chevron’s methodology.

Google’s first prediction was right, but its second was wrong. See Loper Bright

Enters. v. Raimondo, 144 S. Ct. 2244, 2273 (2024). The Supreme Court’s decision

in Loper Bright made clear that it “[does] not call into question prior cases that

relied on the Chevron framework.” Id. And Loper Bright also made clear that the

kind of argument on which Google relies for rehearing—that this Court’s



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interpretation of section 337 in Suprema should be overruled because it employed

the Chevron framework—“is not enough to justify overruling a statutory

precedent.” Id.

      Google offers the Court no other justification beyond the retirement of

Chevron deference to reexamine Suprema. But Suprema’s interpretation of section

337 is entitled to statutory stare decisis, a particularly strong variant of stare

decisis that can only be overcome in the presence of some “special justification.”

Id. Because Loper Bright is express that its overruling of Chevron does not

provide such a “special justification,” Google’s petition must fail.

      Setting aside Loper Bright’s repudiation of Google’s purported justification

for rehearing, this appeal also presents a poor vehicle to revisit Suprema’s holding

that a section 337 violation may be predicated on the importation of articles that

are used to induce infringement. Suprema, 796 F.3d at 1352-53. Most problematic

is the fact that the appeal will become moot as to the only patent implicating

induced infringement, U.S. Patent No. 10,439,896 (“the ’896 patent”), when that

patent expires on June 6, 2025, less than ten months from now. The likelihood that

the appeal will become moot before this Court can reach an en banc decision is

heightened by the fact that there was minimal briefing during the Commission

proceedings below and the panel proceedings in this appeal concerning Suprema or




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the proper interpretation of section 337. Revisiting Suprema via en banc rehearing

of this appeal would mean briefing those issues from scratch in the rehearing.

       Also problematic, Google’s interpretation of section 337 is most certainly

not the “best” reading of the statute insomuch as it eschews the “traditional tools of

statutory construction.” See Loper Bright, 144 S. Ct. at 2266 (“In the business of

statutory interpretation, if it is not the best, it is not permissible.”); see also id. at

2268 (“Courts interpret statutes … based on the traditional tools of statutory

construction.”). Rather, Google advances an atextual interpretation of section 337

that relieves it of responsibility for importing articles with which Google

indisputably induces patent infringement. The Commission’s interpretation of

section 337—affirmed in Suprema and relied upon by the Commission and the

parties appearing before it for more than a decade—is the correct and best reading

of section 337. However, if there is a better reading, Google has not supplied it

here, and as such the Court should not use this appeal to revisit Suprema.

II.    SUMMARY OF FACTS

       A.     The Patents and Claims Remaining at Issue

       Two patents are relevant to Google’s petition for rehearing: the ’896 patent

and U.S. Patent No. 9,219,959 (“the ’959 patent”). Of these two patents, the ’896

patent is the only patent that implicates a finding of induced infringement, but it

expires in less than ten months on June 6, 2025. See Appx10156; ECF 87 (ITC



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Letter regarding patent expiration). The ’896 patent is directed to techniques,

using a computing device (e.g., a smartphone), for connecting playback devices

(e.g., speakers) to a secure wireless network. Appx10156 (Abstract), Appx10182

(1:29-32). As of its post-hearing brief, Sonos asserted direct and induced

infringement of claims 1, 5, 6, and 12 of the ’896 patent—all apparatus claims—in

the investigation below.

      The ’959 patent expires on September 11, 2027, and is directed to

techniques for pairing individual playback devices (e.g., speakers) to create a

multi-channel listening environment (e.g., a stereo-paired or surround-sound

environment) and performing equalization of audio data depending on the type of

pairing. Appx10112 (Abstract); see ECF 87. As of its post-hearing brief, Sonos

asserted only direct infringement of claim 10 of the ’959 patent—an apparatus

claim—in the investigation below.

      B.     Sonos’ Infringement Allegations and Google’s Infringing Articles

      The articles that infringe the ’896 patent are certain Google Pixel devices on

which the Google Home application is installed after importation. Appx11-12.

Sonos alleged that those Pixel devices, with the Google Home application

installed, directly infringed the asserted ’896 patent claims. Appx219. Sonos also

alleged that Google induced the infringement of those claims by its consumers who




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installed the Google Home application on its imported Pixel devices and used

those devices within the United States. Appx219; Appx228-229.

      The articles that infringe the ’959 patent are Google’s Nest Audio speakers.

Appx10-11.1 Although Sonos argued during the early stages of the investigation

that Google directly infringed and induced infringement of claim 10 of the ’959

patent, Sonos abandoned its inducement allegations as to claim 10 following the

evidentiary hearing. Thus, with respect to the ’959 patent, by the time the

Commission was making its final determination on violation, only Sonos’

allegation that Google’s Nest Audio speakers directly infringed claim 10 as

imported was before the Commission. Appx159-160; Appx167-173.

      C.     The Commission’s Violation Determinations

      The Commission determined that Google violated section 337 with respect

to both the ’896 and ’959 patents.2 As to the ’896 patent, the Commission found

that Pixel devices installed with the Google Home application directly infringe

claims 1, 5, 6, and 12 of the ’896 patent. Appx219-228. The Commission also



1
  Sonos alleged and the Commission found that Google’s Home Max speakers also
infringe claim 10 of the ’959 patent, but Google discontinued those speakers in
2018. Appx11 (text & n.16).
2
  Unless indicated otherwise, the Commission affirmed and/or supplemented the
findings of the Chief Administrative Law Judge in his initial determination.
Appx13. Such findings have become those of the Commission under 5 U.S.C.
§ 557(b) and 19 C.F.R. §§ 210.42(h), 210.45(c).


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found that Google induced that infringement, rejecting Google’s argument that

there can be no induced infringement because the installation and use of the

Google Home application occurred after the Pixel devices were imported.

Appx228-229 (citing Appx82-84 (section VI.B.1 of the initial determination)).

      As to the ’959 patent, and as noted above, the only infringement issue before

the Commission was direct infringement. Accordingly, the Commission found

only that Google’s Nest Audio speakers directly infringe claim 10. Appx159-160;

Appx167-173. The Commission was not asked to, and did not, determine whether

Google induces infringement of claim 10, and the Commission’s ultimate finding

of violation as to the ’959 patent relied only on its direct infringement finding. See

Appx159-173. To the extent that Google argued below that the Nest Audio

speakers “do not infringe because the [claimed] functionality is not active unless

actions are taken by a user,” the Commission did not rely on induced infringement

and/or Suprema to dispense with that argument. Appx170. Rather, the

Commission relied on two of this Court’s direct infringement precedents—Fantasy

Sports Properties, Inc. v. Sportsline.com, Inc., 287 F.3d 1108 (Fed. Cir. 2002), and

Finjan, Inc. v. Secure Computing Corp., 626 F.3d 1197, 1204-05 (Fed. Cir.

2010)—for the proposition that when “a user must activate the functions

programmed into a piece of software by selecting those options, the user is only

activating means that are already present in the underlying software.” Fantasy



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Sports, 287 F.3d at 1118; see also Appx170-171 (citing Fantasy Sports and

Finjan). Applying that proposition, the Commission found that the Nest Audio

speakers included the functionality recited in claim 10 “at the time of importation”

and thus directly infringed that claim. Appx171; see also Appx173.

      As remedies for Google’s violations of section 337, the Commission issued

a limited exclusion order and a cease-and-desist order against Google. Appx34.

Those orders remain in effect as to the ’896 and ’959 patents until the patents

expire on June 6, 2025, and September 11, 2027, respectively.

      D.     The Panel Proceedings

      Google appealed the merits of the Commission’s final determination that its

Pixel devices infringe the ’896 patent, Google Br. at 28-36 (ECF 28), but did not

challenge the merits of the Commission’s direct infringement finding as to the ’959

patent, including the Commission’s reliance on Fantasy Sports and Finjan when

finding that Google’s Nest Audio speakers infringe the ’959 patent as imported,

see generally id. Relying solely on the dissent in Suprema, Google also argued

that neither group of products “infringe as imported” because (i) Sonos’

infringement theory as to the ’896 patent requires installation and use of the

Google Home application, which is not installed on the Pixel devices at the time of

importation, and (ii) the Nest Audio speakers “are imported as standalone devices,

yet the ’959 claims require a paired configuration.” Id. at 50-51. The latter



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argument, however, misapprehends claim 10 of the ’959 patent3 and incorrectly

suggests that the Commission’s violation finding as to the ’959 patent was

predicated on induced infringement. See Appx159-173.

         The panel affirmed all the Commission’s findings that were before it,

leaving intact the Commission’s determination that Google violated section 337 as

to the ’896 and ’959 patents based on its importation of its Pixel devices and Nest

Audio speakers. Slip Op. (ECF 90) at 6-22, 25. As to Google’s assertion that the

Commission’s authority under section 337 “is limited to cases in which the

accused articles infringe at the time of importation, and that district courts are the

proper forum for allegations of inducing post-importation infringement,” the panel

noted that it was bound by this Court’s rejection of that argument in Suprema. Id.

at 25.

         Following issuance of the panel opinion in this case, Google petitioned for

en banc rehearing of the portion of the panel opinion that addressed Suprema.

Google did not petition for rehearing of any other portion of the panel opinion.

Google supplemented its petition for rehearing with a letter identifying the



3
  Claim 10 of the ’959 patent does not “require a paired configuration” of speakers.
Rather, claim 10 requires “[a] playback device” with “computer readable memory
comprising instructions encoded therein, wherein the instructions, when executed
… cause the playback device to” perform certain functions. Appx10150 (3:66-
4:28). Thus, the actual presence of, and interaction with, a second speaker is not
required for an imported standalone speaker to practice this claim.

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Supreme Court’s decision in Loper Bright as additional relevant precedent.

Google’s Not. Suppl. Authority (ECF 101) (“Google NSA”).

III.   EN BANC REHEARING SHOULD BE DENIED

       The Court should deny Google’s petition for en banc rehearing for at least

two reasons. First, the Supreme Court was explicit in Loper Bright that its

retirement of Chevron deference going forward “[does] not call into question prior

cases that relied on the Chevron framework.” Loper Bright, 144 S. Ct. at 2273. In

so holding, the Supreme Court rejected Google’s sole justification for granting en

banc rehearing in this appeal. Second, this appeal presents a poor vehicle to revisit

Suprema in any event. Of the two patents remaining at issue, only the ’896 patent

is subject to an infringement finding that implicates Suprema, and that patent will

expire in less than ten months. Accordingly, there is a very real possibility that the

Suprema issue in this appeal will become moot before the en banc Court can

render a decision on it. Moreover, the interpretation of section 337 that Google

would have the Court adopt eschews the traditional tools of statutory construction

and thus cannot be the correct interpretation. For these reasons, as articulated

below, the Court should deny Google’s petition for rehearing.

       A.     Loper Bright Does Not Provide the “Special Justification” Needed
              to Overcome Statutory Stare Decisis and Overrule Suprema.

       Google has raised only one justification for en banc rehearing of this appeal:

“[t]his Court should grant rehearing en banc to reconsider the scope of Section


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337(a)(1)(B)(i) in light of the Supreme Court’s reconsideration of Chevron

deference in Loper Bright.” Google Pet. (ECF 98) at 8. Google’s petition for

rehearing preceded the Supreme Court’s ultimate decision in Loper Bright and thus

necessarily relied on speculation about the decision. While Loper Bright overruled

the Chevron deference framework, it explicitly cautioned that its holding should

not serve as a basis to revisit precedents that construed statutes under Chevron.

      Specifically, the Court explained that it did “not call into question prior

cases that relied on the Chevron framework,” and that the “holdings of those cases

that specific agency actions are lawful” are “subject to statutory stare decisis

despite our change in interpretive methodology.” 144 S. Ct. at 2273. The Court

also explained that “[m]ere reliance on Chevron cannot constitute a ‘special

justification’ for overruling such a holding, because to say a precedent relied on

Chevron is, at best, ‘just an argument that the precedent was wrongly decided.’”

Id. (quoting Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 266

(2014); Dickerson v. United States, 530 U.S. 428, 443 (2000)). Such an argument,

“is not enough to justify overruling a statutory precedent.” Id. So too, Google’s

justification for revisiting Suprema—i.e., that decision’s reliance on the now-

overruled Chevron framework, Google Pet. at 3, 8-10—is “not enough to justify

overruling” Suprema. See Loper Bright, 144 S. Ct. at 2273.




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      Google recognizes the importance of the above-quoted portions of Loper

Bright insomuch as it contends that “the panel’s decision in this case cannot be

justified by stare decisis, which at most could support retaining ‘[t]he holdings of

[prior] cases that specific agency actions are lawful.’” Google NSA at 2 (quoting

Loper Bright at 2273 (emphasis Google’s)). However, Google misreads Loper

Bright and misunderstands statutory stare decisis. Specifically, Google’s emphasis

of the phrase “specific agency actions,” combined with its musings about

“[w]hatever the legal status of the agency action in Suprema” may be, Google

NSA at 2, suggests that Google reads Loper Bright’s invocation of “statutory stare

decisis” to apply to the particular facts and outcome of the underlying investigation

in Suprema, but not to Suprema’s broader holding interpreting section 337. That

reading cannot be right.

      First, Google’s reading of Loper Bright conflates stare decisis with the

finality of individual judgments. The Commission’s finding of violation and

issuance of remedial orders in Suprema is settled, but not because of the “statutory

stare decisis” referenced in Loper Bright. Rather, the Commission’s violation

finding and issuance of remedial orders in that investigation are settled matters

because they are final and unappealable. See Talasila, Inc. v. United States, 36 F.

App’x 430, 431 (Fed. Cir. 2002) (“We have held that once a judgment has become

final and unappealable, a change in the law will not justify relief under Rule



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60(b).”) (citing W.L. Gore & Assocs., Inc. v. C.R. Bard, Inc., 977 F.2d 558, 560-63

(Fed. Cir. 1992)). The continued validity of the violation determination and

remedy underlying Suprema is a matter of the finality of judgments, not statutory

stare decisis.

      While the finality of a judgment is concerned only with the circumstances in

which a particular judgment may be set aside, stare decisis “makes each judgment

a statement of the law, or precedent, binding in future cases before the same

court.” Preminger v. Sec’y of Veterans Affs., 517 F.3d 1299, 1309 (Fed. Cir. 2008)

(emphasis added); see also Kimble v. Marvel Ent., LLC, 576 U.S. 446, 455-56

(2015). Google’s reading of Loper Bright fails to grasp that distinction. Under

Google’s reading, the only decision that would owe fidelity to a prior precedent

due to stare decisis would be the decision creating the precedent in the first place.

That tautological view of stare decisis hardly “promotes the evenhanded,

predictable, and consistent development of legal principles, fosters reliance on

judicial decisions, [or] contributes to the actual and perceived integrity of the

judicial process.” Payne v. Tennessee, 501 U.S. 808, 827 (1991).

      Moreover, Google’s recognition that Suprema is the impediment to the relief

it seeks on rehearing demonstrates that this appeal involves the same “specific

agency action” that was at issue in Suprema, i.e., the Commission’s determination

of a violation of section 337 based on the inducement of infringement with



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imported articles. Google cannot simultaneously claim that this Court’s decision

in Suprema addressed the lawfulness of a different agency action to avoid stare

decisis while also conceding that Suprema is controlling on the question for which

it seeks rehearing.

      Google also fails to appreciate the significance of the word “statutory” in

Loper Bright’s reference to “statutory stare decisis.” Loper Bright, 144 S. Ct. at

2273. Statutory stare decisis refers specifically to the application of stare decisis

to a prior precedent’s interpretation of a statutory provision. See, e.g., Kimble, 576

U.S. at 456 (“[S]tare decisis carries enhanced force when a decision … interprets a

statute.”). By invoking “statutory stare decisis” specifically, Loper Bright makes

clear that it is addressing the continued validity of holdings that interpreted

statutory provisions and not merely the specific outcomes of the cases in which

those holdings appear. In Suprema, this Court held that the phrase “articles that

infringe” in section 337 “covers goods that were used by an importer to directly

infringe post-importation as a result of the seller’s inducement.” Suprema, 796

F.3d at 1352-53. That sound statutory interpretation is due the enhanced force of

statutory stare decisis even though the interpretive methodology on which it relied

has been retired. See CBOCS W., Inc. v. Humphries, 553 U.S. 442, 457 (2008)

(“Principles of stare decisis … demand respect for precedent whether judicial

methods of interpretation change or stay the same.”).



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      B.     This Case is a Poor Vehicle to Revisit Suprema.

      Even without the impediments of statutory stare decisis and Loper Bright’s

admonition, the Court should still deny the petition because this appeal is a poor

vehicle for revisiting Suprema. Specifically, the Suprema issue raised in Google’s

petition will become moot on June 6, 2025, when the ’896 patent expires, leaving

less than ten months for the Court to render an en banc decision before there is no

longer a live dispute. To the extent Google’s petition suggests that the

Commission’s violation finding as to the ’959 patent relied on Suprema, that

suggestion does not stand up to any amount of scrutiny.

      Suprema addresses “whether goods qualify as ‘articles that infringe’ when

the Commission has found that such goods were used, after importation, to directly

infringe by the importer at the inducement of the goods’ seller.” Suprema, 796

F.3d at 1345. Here, only the Commission’s violation finding with respect to the

’896 patent implicates induced infringement and Suprema’s reasoning. Appx228-

229 (citing Appx82-84). The Commission’s final determination with respect to the

’959 patent is one of direct infringement only. Appx159-173. Indeed, the

Commission found that Google’s Nest Audio devices directly infringed claim 10 of

the ’959 patent, without any reliance on Suprema. Appx159-173. The

Commission did not adjudicate induced infringement as to the ’959 patent because

that issue, though raised earlier in the case, was abandoned by Sonos. Google



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cannot now use the ’959 patent to preserve its Suprema challenge beyond the life

of the ’896 patent.

      Mootness aside, this appeal is also a poor vehicle to revisit Suprema because

the alternate interpretation of section 337 that Google urges the Court to adopt

eschews the “traditional tools of statutory construction” and therefore cannot be

correct. Loper Bright, 144 S. Ct. at 2266. First, Google’s interpretation is fatally

atextual insomuch as it depends on reading the phrase “at the time of importation”

into section 337, despite the absence of that phrase anywhere in the statute. See

Google Br. at 51 (“Google submits that [the Commission’s] authority is limited to

cases in which the accused articles infringe at the time of importation.”). Second,

Google’s interpretation urges the Court to define infringement differently under

section 337 than under the Patent Act, again without any textual indication of such

Congressional intent, and despite the fact that Congress first defined infringement

explicitly in § 271 of the Patent Act of 1952 and only later introduced the phrase

“articles that infringe” to section 337 in 1988. See Google Pet. at 11; see also

Patent Act of 1952, Pub. L. No. 82-593, ch. 950, 66 Stat. 792, 811 (defining

infringement); Omnibus Trade and Competitiveness Act of 1988, Pub. L. No. 100-

418, § 1342(a), 102 Stat. 1107, 1212 (introducing “articles that infringe” to section

337). Congress gave no indication that infringement should have a different

meaning in section 337 than the one it had already been given in 35 U.S.C. § 271.



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And third, as Suprema correctly recognized, an interpretation like Google’s would

“eliminate[] trade relief under Section 337 for induced infringement and

potentially for all types of infringement of method claims,” again, without any

indication that Congress intended such a fragmented understanding of patent

infringement in section 337. Suprema, 796 F.3d at 1340. Google fails to advance

a “better” statutory interpretation that addresses these concerns.

      C.     If En Banc Rehearing is Granted, the Commission Requests an
             Opportunity to Submit Additional Briefing on the Merits.

      The Commission maintains, as it did when Suprema was decided, that its

interpretation of section 337 is correct. “Infringement” had a carefully crafted and

expressly defined meaning when § 271 was enacted in 1952. See Pub. L. No. 82-

593, ch. 950, 66 Stat. at 811. When Congress added the phrase “articles that

infringe” to section 337 in 1988, it knew of that meaning and gave no indication

that infringement should mean something different in section 337. See Pub. L. No.

100-418, § 1342(a), 102 Stat. at 1112. As such, the best reading of section 337,

and the one that does not conflict with the traditional tools of statutory

construction, is that where an imported article infringes under 35 U.S.C. § 271,

including under § 271(b), that is sufficient to establish the existence of “articles

that infringe” under section 337. Nonetheless, if the Court opts to grant rehearing,

the Commission requests an opportunity to submit additional briefing on the

merits. Other than the limited briefing on the instant petition, the propriety of


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overruling Suprema and the accuracy of Google’s proposed interpretation of

section 337 are wholly new issues that should be thoroughly developed before the

Court potentially takes the exceptional step of altering a statutory interpretation

that has been settled and relied upon for nearly a decade.

IV.   CONCLUSION

      For the reasons given above, the Court should deny Google’s petition for en

banc rehearing.


                                               Respectfully Submitted,


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       CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME
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      Pursuant to Federal Rule of Appellate Procedure 32(g)(1) and Federal

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